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AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case



                                         UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA                             \u ~J;~ ~~ ~~1 S: 28
               UNITED STATES OF AMERICA                                    AMENDED JUDGMENt IN'&~MINAL
                                                                           r   A lOll<'
                                    V.                                     (For Offenses Committed On;or After November 1, 1987)
                   DEMEA TRICE HARRIS (2)
                                                                               Case Number:         13CR2794-JLS

                                                                           ANDRES FLORES
                                                                           Defendant's Attorney
REGISTRATlON NO.                     39729298
!ZI Correction of Sentence for Clerial Mistake (Fed. R. Cnm. P. 36)
t8l   pleaded guilty to count(s)           4 of the Indictment
                                                         ------------------------------------------------------
o was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following otTense(s);
                                                                                                                               Count
Title & Section                          Nature of Offense                                                                    Number(s)
18 USC 922(g)( I ) &                     Felon in possession of firearm                                                          4
924(a)(2)




     The defendant is sentenced as provided in pages 2 through                            4
The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
                                                                                          - - - of this judgment.
o The defendant has been foune: w.t ;jlil'y nr' CI,jrt(s)
o Count(s)                                                            is            dismissed on the motion of the United States.

t8l   Assessment: $100.00 imposed




t8l No fine                        ~ Forfeitur·e pursuant to order filed                    3/6/2014                    , included herein.
       IT IS ORDERED that the defendam shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or roailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If orrJ~r('r1 to pay rf"titution, the defendant shall notity the court and United States Attorney of
any material change in the defenda1:t'~ ec~:momic ci:cumstances.

                                                                            Februarv 28, 2014
                                                                            Date of Impos;tion of Sentence



                                                                            liON. JANIS L SAMMARTINO
                                                                            UNITED STATES DISTRICT JUDGE




                                                                                                                              13CR2794-JLS
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               DEMEATR1CE HARRIS (2)                                                      Judgment - Page 2 of 4
CASE NUMBER:             13CR2794-JLS

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
Forty-one (41) months




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI   The court makes the following recommendations to the Bureau of Prisons:
         (1) Residential Drug Abuse Program (RDAP)
            (2) FCI Victonrille
            (3) Participate and Complete a G.E.D. Program
            (4) Vocational and Educational Programs

o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall su.:rrender to the United States Marshal for this district:
      o      at                            A.M,
      o      as notified by the United States Marshal.

      The def~ndant ~ha!l ::;'x':end~r     ~f~'''Vi:::e c f sentence E.t the institution designated by the Bureau of
      Prisons:
      IZI    on or before Apl'jllL 2014 before 12:00 P.M.
      o      as notified by the United States Marshal.
      o      as notified by the Probafon or Pretrial Services Oftice.

                                                      RETURN

I have executed this judgmen~ :IS follow,,:

      Defendant delivered on
                               ------------------ to
at                                         with c, certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                           13CR2794-JLS
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    AO 245B (CASD Rev. 08/13) Judgment in a Cdmina! Case

    DEFENDANT:                     DEMEATRICE HARRIS (2)                                                                             Judgment - Page 3 of 4
    CASE NUMBER:                   13CR2794-JLS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the der~ndant shall be on supervised release for a term of:
Three (3) years


     The defendant shall report to th,:> 1~rcbJ;h'"1 offiee ill tl-e di:;tricl to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless rely,oved from the United States.
The defendant shall not commit anDt1C;' .7e(i<:raJ. :;"U: C' local crime.
For offenses committed on or afier Scpl'!mbE:r 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug tcstNithi,l : ~ ri~ys vf lete..lsc from imprisonment and at least two periodic drug tests
thereafter as determined by the court. j'e5ting re=:'r~ments viiI! 110t exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise vrdered by court.
          The above drug testing condition is smpended. based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not? Y;:k::S, r I',: c.""!':, ~,Yl';'. u'1i~: ),1, :\' ,tr..lctive d~'iice, or any other dangerous weapon.
          The defendant shall cooper:;."~ if. ';;10 r,-lIec~ic:1 d a J'V\, c;ai;:;ple from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2('IYJ, p';:"'~rt £0 1),( USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the prooa(i':m ofricer, th~ Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student or was cor v i ct1>d ::>f1 quaHfyir:g offense. ~ Check if applicable.)
o         The defendant shall participz_~,~ in an ~\PproVt I pI o~r,m f( r jom~st;c v.o1ence. (Check if applicable,)

          If this judgment imposes c fine 0~ it ;'cstitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment
         The defendant sl-)al! com:: ~_ Y,: ,'- '~"    :,trd',~ C"(~.jiti on::; tha': h.':lYf' b:;~n adopted by this court.   The defendant shall also comply
     with any special conditioJ1<e ;"!1.)O~ed
                                            ,   [:.~\;r"ARn CONDITIONS OF SUPERVISION

     1)  the defendant shall p.ot lea • .: \;1(; .;udiciU (Jis:d;;t \\tthout the permission cf tht: court or probation officer:
     2)  the defendant shall rl':po:1 to ~L:                  oC;';:cr if a rr:<'.mer il."C freqJ{HY d:rected by the cou:1: or probation officer;
     3) the defendant shall 2.l1SVler ~tu,~.fL:'1y .::.1' ilq~ ;;",:; ~') :' ~ r,"C')dli ~ ,j {)Hi(.,~' [.LJ .allow t'le instructions of the probation officer;
     4) the defendant shall suppert h:,' c' he:                        :1nd me~t 0t 1er family responsibilities:
                                                                                      '
     5) the defendant shall Vlo:k regu!a;"i :it L :,.:\\ ;'u! 0~;;.!patioll, unie3s exe",stc by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notif)' the                    cfficcr at kitst ten days pdor to any ehange in residence or employment;
     7) the defendant shall refrain fp);;l c·:c- :;c;"~ :r,i' ~.c'h:"!-\;l f:"G "nil nN nun:h,";c, possess, use. di5tribute, or administer any controlled substance or
         any paraphernalia related to ?I':'          \,-011',1 'l'l,t~'l';es. :,',c('pt as prescribed hy a physician;
     8) the defendant shall not frequl'::'                ,I '~re     (relk:; ~;lts\n·:e; aT il'l"j1111' sole', lfl'd, distr'buted, or administered;
     9) the defendant shall not associate w'rh any per'W{ls engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to (j,:, s;) l'"!,)T!:-f:(!lil11 ollie'!r:
     10) the defendant shall pennit a prorc:thn (;'+ic:er;o v',sit him or hr-r at any time at home or elsewhere and shall pennit confiscation of any contraband
         observed in plain view of the 'Jfch?tion c;f;t~c('r
     11) the defendant shaH notify the '1r:.r~l;''T1 nt'fi"er wl,hifl Sl;wnty-rwo hourS' ofltcing arrested or questioned by a law enforcement officer;
     12) the defendant shall not (:.nt'~r int; :",; "f ·.. '~nl:'r to 3ct 3~ an inf(lrmer or 1 'pc·~ial agj~nt of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation otfc. ,'he ,kfenda:;t ~hal1 notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristic'; 2.rd shall perMI! the n:'ob"tion Clfficer to make such notifications and to eon finn the defendant's compliance
         with such notification reqlJireJn~N



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DEFENDANT:                DEMEATRICE HARRIS (2)                                                      Judgment - Page 4 of 4
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                                     ~P~~C~AL CONDITIONS OI<' SUPERVISION


 Report all vehicles owned aT '.,.nl"'·Tr.~    or 'Nhich you have an interest, to the probation officer.

 Submit person, residence, odicc (1 vchicle to a search, cOfiducted by a United States Probation Officer at a
 reasonable time and ill a             . mUf",l,:l, last::l up,3n reasonable suspicion of contraband or evidence of a
 violation of a condition of Tf:leaSe' f~lihp'f~ to submit to a search may be grounds for revocation; the defendant
 shall warn any other resicie"lts th:ii th(~ p:."tmises may be subject to searches pursuant to this condition.

 Participate in a program c f ) r 8krjl':J1 abuse treatment, including urinalysis or sweat patch testing and
 counseling, as directed byub",;;h1il ofrIca. hllow f\)f reCIprocal release of information between the
 probation officer and the tre,;x::::.rlt :;;rovider. T£le defendant may be required to contribute to the costs of
 services rendered in an amount i\j b~ determined by the probation officer, based on the defendant's ability to
 pay.

 Not associate with any melHl!CL" ~~.;;souatt;, or alliliate or any .:;riminal street gang, including but not limited to
 the Lincoln Park Street




                                                                                                           13CR2794-JLS
